082319.0015 .2V .01224867 .001                                                                                         1902902 .Court . 278
              Case 19-02902-5-SWH United
                                   Doc 17States
                                           FiledBankruptcy Court 08/26/19 10:27:05
                                                08/26/19 Entered                       Page 1 of 2
                                                                           19-02902-5-SWH
                                              Eastern District of North Carolina Wilmington Division

                                                                             IN RE
                                                                           FABIO ALICEA
           1902902                                                         801 UNIT 1 BLANCHE AVE
           CHRISTOPHER T. VONDERAU
           LAW OFFICES OF CHRISTOPHER VONDERAU                             CAROLINA BEACH, NC 28428
           4022 SHIPYARD BLVD                                                                    SSN or Tax I.D. XXX-XX-4336
           WILMINGTON, NC 28403                                            ------------------------------
                                                                           SARAH J ZABEK
                                                                           801 UNIT 1 BLANCHE AVE

                                                                           CAROLINA BEACH, NC 28428
           U.S. Bankruptcy Court                                                         SSN or Tax I.D. XXX-XX-1254
           P.O. Box 791                                                    Other Names Used:
           Raleigh, NC 27602




                                                                                       CLAIM NO: - Court - A                        U.S.




                                       NOTICE TO CREDITORS AND PARTIES IN INTEREST



    NOTICE IS HEREBY GIVEN that a hearing will be held as indicated below:

    DATE:          September 05, 2019
    TIME:          10:00 AM
    PLACE:         U.S. BANKRUPTCY COURT
                   ROOM 208
                   300 FAYETTEVILLE STREET
                   RALEIGH, NC 27602

    to consider and act on the following matters the Trustee's Motion to Dismiss and to transact all other business as may
    properly come before the court.

    *** All parties to this matter are directed to meet with the duty trustee 30 minutes prior to the hearing set in this notice. ***




    DATED: August 23, 2019                                         Stephanie J. Butler
                                                                   Clerk of Court
                                                                                                               0015
                                  CERTIFICATE
                Case 19-02902-5-SWH                 OF MAILING
                                    Doc 17 Filed 08/26/19 Entered 08/26/19 10:27:05                   Page 2 of 2
CASE: 1902902        TRUSTEE: 2V                       COURT: 278                                        Page 1 of 1
TASK: 08-22-2019 .01224867.BLB002                      DATED: 08/23/2019
Court                         Served Electronically

Trustee                       Joseph A. Bledsoe, III                       P.O. Box 1618
                                                                           New Bern, NC 28563
Debtor                        FABIO ALICEA                                 801 UNIT 1 BLANCHE AVE
                                                                           CAROLINA BEACH, NC 28428
Joint                         SARAH J ZABEK                                801 UNIT 1 BLANCHE AVE
                                                                           CAROLINA BEACH, NC 28428
799             000002        CHRISTOPHER T. VONDERAU       LAW OFFICES OF CHRISTOPHER VONDERAU
                              4022 SHIPYARD BLVD            WILMINGTON, NC 28403
                                                                                      5 NOTICES
         THE ABOVE REFERENCED NOTICE WAS MAILED TO EACH OF THE ABOVE ON 08/23/2019.
         I DECLARE UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE AND CORRECT.
         EXECUTED ON 08/23/2019 BY /S/EPIQ Systems, Inc.

*CM - Indicates notice served via Certified Mail
